Case 2:18-cv-05741-DMG-PLA Document 261 Filed 09/23/20 Page 1 of 2 Page ID #:5713



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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
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12 LUCAS R., et al.,                       Case No.: CV 18-5741-DMG (PLAx)
13                  Plaintiffs,            ORDER APPROVING JOINT
                                           STIPULATION AND REQUEST TO
14         v.                              MODIFY BRIEFING SCHEDULE
                                           AND ENLARGE PAGE LIMITS FOR
15 ALEX AZAR, et al.,                      MOTIONS FOR SUMMARY
                                           JUDGMENT OR PARTIAL
16                  Defendants.            SUMMARY ADJUDICATION [259]
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Case 2:18-cv-05741-DMG-PLA Document 261 Filed 09/23/20 Page 2 of 2 Page ID #:5714



 1         Having read and considered the Parties’ Joint Stipulation and Request to Modify
 2   Briefing Schedule and Enlarge Page Limits for Motions for Summary Judgment or
 3   Partial Summary Adjudication, and for good cause appearing, the Court hereby
 4   APPROVES the Stipulation.
 5         IT IS HEREBY ORDERED that motions for summary judgment or partial
 6   summary adjudication shall be filed no later than October 2, 2020, opposition briefs
 7   shall be filed no later than November 6, 2020, and reply briefs shall be filed no later
 8   than November 20, 2020; and
 9         FURTHER ORDERED that the page limit for all initial memoranda in support
10   of the Parties’ motions for summary judgment or partial summary adjudication shall be
11   60 pages, the page limit for all opposition briefs shall be 60 pages, and the page limit
12   for all reply briefs shall be 25 pages.
13         IT IS SO ORDERED.
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15   DATED: September 23, 2020                 ________________________________
                                               DOLLY M. GEE
16                                             UNITED STATES DISTRICT JUDGE
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